Case 8:19-cv-00815-JGB-SHK Document 53 Filed 01/02/20 Page 1 of 7 Page ID #:866




                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA
                                CIVIL MINUTES—GENERAL

  Case No.       SACV 19-815 JGB (SHKx)                               Date January 2, 2020
  Title Ubaldo Arroyo, et al. v. United States Department of Homeland Security, et al.


  Present: The Honorable         JESUS G. BERNAL, UNITED STATES DISTRICT JUDGE


                MAYNOR GALVEZ                                          Not Reported
                  Deputy Clerk                                        Court Reporter


     Attorney(s) Present for Plaintiff(s):                 Attorney(s) Present for Defendant(s):
                  None Present                                         None Present

  Proceedings:      Order (1) GRANTING Plaintiffs’ Motion for Attorneys’ Fees (Dkt. No.
                    50); and (2) VACATING the January 6, 2020 Hearing (IN CHAMBERS)


         Before the Court is a Motion for Attorneys’ Fees filed by Plaintiffs Ubaldo Arroyo, Jorge
 Poroj Sac, Atemnkeng Becky Njualem, Sergio Jonathan Moreno, Elieser David Blea, Santiago
 Guevara-Melgar, Bashir Abdi Wabare, Tanyi Ferick Awungdeu, Nguanyi Atabong Queenida,
 Asmerom Zemede Enabi, Public Law Center, and Public Counsel (collectively, “Plaintiffs”).1
 (“Motion,” Dkt. No. 50.) The Court finds the Motion appropriate for resolution without a
 hearing. See Fed. R. Civ. P. 78; L.R. 7-15. After considering the papers filed in support of and in
 opposition to the Motion, the Court GRANTS the Motion. The Court vacates the hearing set
 for January 6, 2020.

                                        I. BACKGROUND

        On March 27, 2019, the Orange County Sherriff’s Department (“OCSD”) notified
 Defendant United States Immigration and Customs Enforcement (“ICE”) that it would
 terminate its contract to house immigrant detainees. (Motion at 2.) Both ICE and OCSD
 subsequently announced that the affected detainees, including those represented by local
 counsel, would be moved out of the ICE Los Angeles Field Office’s Area of Responsibility
 (“AOR”) to detention facilities in San Francisco, Florida, and other states. (Id. at 2–3.)

         1
         Plaintiffs Arroyo, Sac, Njualem, Moreno, Blea, Guevara-Melgar, Wabare, Awungdeu,
 Queenida, and Enabi will be referred to collectively as “Immigrant Plaintiffs.” Public Law
 Center and Public Counsel will be referred to as “Organization Plaintiffs.”

  Page 1 of 7                       CIVIL MINUTES—GENERAL                    Initials of Deputy Clerk iv
Case 8:19-cv-00815-JGB-SHK Document 53 Filed 01/02/20 Page 2 of 7 Page ID #:867




         On May 2, 2019, Plaintiffs filed a complaint against the following Defendants: United
 States Department of Homeland Security (“DHS”), Kevin K. McAleenan, ICE, Ronald D.
 Vitello, Thomas Giles, Jennifer Herrera, Luke South, and Lisa Von Nordheim (collectively,
 “Defendants”). (“Complaint,” Dkt. No. 1.) Plaintiffs’ Complaint is a verified petition for writ
 of habeas corpus and a complaint for injunctive and declaratory relief. (Id.) The Complaint
 alleges that Defendants’ conduct violates the Immigration and Nationality Act (“INA”), the
 Due Process Clause of the Fifth Amendment, the First Amendment (on behalf of Immigrant
 Plaintiffs), the First Amendment (on behalf of Organization Plaintiffs), and the Administrative
 Procedure Act (“APA”).

         On May 13, 2019, Plaintiffs moved to certify a class and for a preliminary injunction.
 (Dkt. Nos. 14, 17.) On June 20, 2019, the Court granted-in-part and denied-in-part those motions
 and provisionally certified a class of “[a]ll immigrants imprisoned at the James A. Musick Facility
 and the Theo Lacy Facility and who have attorneys within the ICE Los Angeles Field Office’s
 Area of Responsibility.” (“Order,” Dkt. No. 46 at 33.) The Court further enjoined Defendants
 from “transferring immigration detainees currently held at the Theo Lacy and James A. Musick
 Facilities to facilities outside the ICE Los Angeles Field Office’s Area of Responsibility if those
 detainees have attorneys within the ICE Los Angeles Field Office’s Area of Responsibility.”
 (Id.) On July 18, 2019, Federal Defendants filed a declaration stating that there were no
 immigration detainees housed in either facility maintained by the OCSD. (Dkt. No. 41.)
 Plaintiffs voluntarily dismissed their complaint on August 5, 2019. (Dkt. No. 44.)

         On October 21, 2019, Plaintiffs filed this Motion. (Motion.) In support of the Motion,
 Plaintiffs filed the Declaration of Ahilan Arulanantham, the Declaration of Carol Sobel, and the
 Declaration of Jayashri Srikantiah. (“Arulanantham Declaration,” Dkt. No. 50-2, “Sobel
 Declaration,” Dkt. No. 50-4, “Srikantiah Declaration,” Dkt. No. 50-6.) Defendants Thomas
 Giles, Jennifer Herrera, Kevin K. McAleenan, United States Department of Homeland Security,
 United States Immigration and Customs Enforcement, and Ronald D. Vitiello (collectively,
 “Federal Defendants”) opposed the Motion on November 25, 2019. (“Opposition,” Dkt. No.
 51.) Plaintiffs replied on December 16, 2019. (“Reply,” Dkt. No. 52.) In support of the Reply,
 Plaintiffs filed a Supplemental Declaration of Ahilan Arulanantham. (“Arulanantham
 Supplemental Declaration,” Dkt. No. 52-1.)

                                    II.   LEGAL STANDARD

         The Equal Access to Justice Act (“EAJA”) provides that “a court shall award to a
 prevailing party . . . fees and other expenses . . . incurred by that party in any civil action . . .
 including proceedings for judicial review of agency action, brought by or against the United
 States . . . unless the court finds that the position of the United States was substantially justified
 or that special circumstances make an award unjust.” 28 U.S.C. § 2412(d)(1)(A). The burden of
 proving the substantial justification exception to the mandatory award of fees under the EAJA
 lies with the government. Love v. Reilly, 924 F.2d 1492, 1495 (9th Cir. 1991). The Supreme
 Court has defined “substantial justification” as:

  Page 2 of 7                        CIVIL MINUTES—GENERAL                     Initials of Deputy Clerk iv
Case 8:19-cv-00815-JGB-SHK Document 53 Filed 01/02/20 Page 3 of 7 Page ID #:868




         justified in substance or in the main – that is, justified to a degree that could satisfy
         a reasonable person. [This standard] is no different from the “reasonable basis in
         both law and fact” formulation adopted by the Ninth Circuit and the vast majority
         of other Courts of Appeals that have addressed this issue.

 Pierce v. Underwood, 487 U.S. 552, 565 (1988). A position does not have to be correct to be
 substantially justified; rather, the standard is satisfied if there is a “genuine dispute.” Id. at 565
 and 566 n.2; see also Lewis v. Barnhart, 281 F.3d 1081, 1083 (9th Cir. 2002). In determining the
 reasonableness of the government’s position under the ‘totality of the circumstances’ test, the
 district court reviews both the underlying governmental action being defended in the litigation
 and the positions taken by the government in the litigation itself. 28 U.S.C. § 2412(d)(1)(B);
 Gutierrez v. Barnhart, 274 F.3d 1255, 1259 (9th Cir. 2001).

          “The amount of attorneys’ fees awarded under EAJA must be reasonable.” Nadarajah v.
 Holder, 569 F.3d 906, 910 (9th Cir. 2009). Attorney’s fees for hours that are not “reasonably
 expended” or that are “excessive, redundant, or otherwise unnecessary” are not compensable.
 See Hensley v. Eckerhart, 461 U.S. 424, 434 (1983); see also I.N.S. v. Jean, 496 U.S. 154, 161
 (1990) (holding Hensley applies to EAJA cases). “The most useful starting point for
 determining the amount of a reasonable fee is the number of hours reasonably expended on the
 litigation multiplied by a reasonable hourly rate.” Hensley, 461 U.S. at 433–34. However, in
 determining what constitutes a reasonable fee award under the EAJA, “courts should generally
 defer to the ‘winning lawyer’s professional judgment as to how much time he was required to
 spend on the case.’” See Costa v. Commissioner of Social Security Administration, 690 F.3d
 1132, 1136 (9th Cir. 2012) (quoting Moreno v. City of Sacramento, 534 F.3d 1106, 1112 (9th Cir.
 2008)).

                                         III. DISCUSSION

         Plaintiffs argue that they are entitled to $144,876.04 in attorneys’ fees and costs because
 (1) they are the prevailing party2, (2) Defendants’ position was not substantially justified, and (3)
 the hours they expended and the enhanced rates they seek are reasonable considering the
 complexity of the issues involved. (See Motion; Reply.) Federal Defendants disagree on all
 three points and argue that an award of attorneys’ fees is inappropriate. (See Opposition.)

 A. Prevailing Party

         A party is a “prevails” for the purposes of EAJA recovery when it achieves a “material
 alteration of the legal relationship between the parties” that is “judicially sanctioned.”

         2
          Plaintiffs also argue that because Organization Plaintiffs are nonprofit organizations as
 described by section 501(c)(3) of the Internal Revenue Code and Individual Plaintiffs are
 individuals, all are eligible to recover attorneys’ fees under EAJA. (Motion at 5.) Defendants do
 not dispute this point.

  Page 3 of 7                         CIVIL MINUTES—GENERAL                      Initials of Deputy Clerk iv
Case 8:19-cv-00815-JGB-SHK Document 53 Filed 01/02/20 Page 4 of 7 Page ID #:869




 Buckhannon Bd. & Care Home, Inc. v. W. Virginia Dep't of Health & Human Res., 532 U.S. 598,
 605 (2001). Therefore, when “the plaintiff wins a preliminary injunction and the case is
 subsequently rendered moot by the defendant’s own actions” the plaintiff may be the prevailing
 party. See Higher Taste, Inc. v. City of Tacoma, 717 F.3d 712, 717 (9th Cir. 2013).

         Federal Defendants argue that Plaintiffs did not prevail because Defendants never
 intended to do what Court ultimately enjoined them from doing. (Opposition at 1–3.) They
 assert that “[e]ven before Plaintiffs filed their Complaint, a pre-existing ICE policy directive
 prohibited Defendants from transferring any detainee with immediate family or attorney of
 recorded within the AOR” and “Defendants never intended to deviate from that policy.” (Id. at
 1.) But what Defendants intended to do is irrelevant to whether the preliminary injunction
 altered the legal relationship between the parties. Before the preliminary injunction issued,
 Defendants were theoretically free to choose their position with respect to the represented
 detainees—they could (as they claim they were planning to do) choose to keep represented
 immigrants within the AOR. Alternatively, they could opt to move the represented detainees to
 detention facilities elsewhere. After the preliminary injunction issued, they no longer had a
 choice to move the represented detainees out of the AOR. The injunction thereby altered the
 parties’ legal relationship—even if the outcome was no different than what Defendants intended
 to do.

         Moreover, based upon the arguments Federal Defendants asserted in the preliminary
 injunction briefing, the Court is skeptical that Defendants never intended to transfer the
 represented detainees. (See, e.g., “Preliminary Injunction Opposition,” Dkt. No. 24 at 1
 (“should any transfers out of the AOR be dictated by the twin realities of Congress’s mandate
 that certain aliens be detained and the emergent need of loss of facility space in the AOR, those
 transfers would fully comport with ICE policy, the Immigration and Nationality Act (“INA”),
 and the Constitution”)). As Plaintiffs point out, “if Defendants had agreed in advance to wind
 down operations at the Orange County facilities without transferring represented immigrants
 outside the Los Angeles AOR, then Plaintiffs would not have filed this suit.” (Reply at 3.)
 Accordingly, the Court concludes that Plaintiffs prevailed for the purposes of EAJA.

 B. Substantially Justified Position

         Defendants bear the burden to establish their position was substantially justified under
 the “totality of the circumstances.” See Gutierrez, 274 F.3d at 1259; Meinhold v. U.S. Dep’t of
 Defense, 123 F.3d 1275, 1277 (9th Cir. 1997). Federal Defendants’ position includes both the
 underlying action being defended and the arguments advanced during the litigation. See
 Gutierrez, 274 F.3d at 1259. The underlying act here is Defendant’s decision to move detainees
 out of the AOR. Throughout the preliminary injunction briefing, Federal Defendants argued
 they were entitled to move detainees, even when those detainees had attorneys or family
 members within the AOR. (See, e.g., Preliminary Injunction Opposition at 1.)

        Federal Defendants first argue that their position was substantially justified because the
 Court accepted Defendants’ argument that it lacked jurisdiction to hear the claims of

  Page 4 of 7                       CIVIL MINUTES—GENERAL                    Initials of Deputy Clerk iv
Case 8:19-cv-00815-JGB-SHK Document 53 Filed 01/02/20 Page 5 of 7 Page ID #:870




 unrepresented detainees. (Opposition at 4.) While this argument does show that some of the
 litigation positions taken by Defendants were substantially justified, it does not show that the
 underlying acts, namely the decision to move the detainees, was substantially justified. By de

          Next, Federal Defendants argue that because the Court determined Plaintiffs were not
 likely to succeed on the merits of their APA and First Amendment claims, their position was
 substantially justified. (Opposition at 4.) Again, this argument fails to show that the “totality of
 the circumstances” justify Federal Defendants’ position. While the Court did not find a
 likelihood of success on the APA and First Amendment claims—it did find a likelihood of
 success for the Due Process and INA claims. (Preliminary Injunction Order at 25.) The APA,
 First Amendment, INA, and Due Process claims arose from the same underlying act:
 Defendants’ decision to move detainees out of the AOR. The Court therefore found that the
 underlying act was likely unlawful. That the underlying act as alleged likely violated only two
 rights rather than the claimed four does not make it substantially justified.

         Finally, Federal Defendants argue that their position that the Court lacked jurisdiction
 over the claims of represented detainees was substantially justified because it was the result
 reached in Alvarez. (Opposition at 5–6.) Federal Defendants are correct—their reliance on
 Alvarez was substantially justified. However, the Alvarez court found only that it lacked over
 jurisdiction to hear any claims regarding the right to representation in removal proceedings.
 Alvarez v. Sessions, 338 F. Supp 3d 1042, 1048 (N.D. Cal.). It made no finding about whether
 the government’s decision to move detained immigrants away from their attorneys violated that
 right. In fact, the Alvarez Court explicitly noted:

         This order should not [be] interpreted as a judicial approval of ICE’s decision to
         transfer Petitioners. While the court’s application of the law compels it to dismiss
         this case, the law does not compel it to countenance an agency’s action that is
         contrary to the norms of this country’s justice system.

 Id. at 1050–51. Alvarez, therefore, fails to provide any support for Federal Defendants’ claim
 that their underlying acts were substantially justified. Quite the contrary—it is further evidence
 that Defendants’ position contravened clearly established law and norms.

          Notably, while the Opposition points to small litigation points on which Federal
 Defendants prevailed, it fails to explain how Federal Defendants’ underlying acts—most
 critically, deciding to move represented detainees out of the AOR—were substantially justified.
 Ninth Circuit precedent is clear: the Due Process Clause guarantees that immigrants have the
 right to be represented by counsel of their choosing. See Baltazar-Alcazar v. I.N.S., 386 F.3d
 940, 944 (9th Cir. 2004) (citing Tawadrus v. Ashcroft, 364 F.3d 1099, 1103 (9th Cir. 2004);
 Colindres-Aguilar v. INS, 819 F.2d 259, 261 n.1 (9th Cir. 1987) (noting an immigrant’s right to
 counsel is a statutory right under 8 U.S.C. § 1362 as well as a right protected by the Due Process
 Clause)). And that right is “fundamental”—immigration officials must respect it “in substance
 as well as in name.” Orantes-Hernandez v. Thornburgh, 919 F.2d 549, 554 (9th Cir. 1990)
 (quoting Baires v. INS, 856 F.2d 89, 91 n.2 (9th Cir. 1988)).

  Page 5 of 7                       CIVIL MINUTES—GENERAL                     Initials of Deputy Clerk iv
Case 8:19-cv-00815-JGB-SHK Document 53 Filed 01/02/20 Page 6 of 7 Page ID #:871




          Moving detainees far from their retained counsel violates immigrant detainees’ right to
 counsel. See Orantes, 919 F.3d at 564 (affirming injunction restricting transfers because they
 “interfere[d] with established attorney-client relationships”). As the Court found in the
 Preliminary Injunction Order, the Immigrant Plaintiffs’ counsel lacked the resources to represent
 them if they were moved out of the AOR and Immigrant Plaintiffs lacked the resources to find
 new counsel. (Preliminary Injunction Order at 23.) Moreover, frequent confidential in-person
 visits are necessary to maintain a robust attorney-client relationship in the immigration context.
 (Id.) Accordingly, the Court concludes that because moving detainees far from their counsel so
 clearly violates their Due Process right to counsel, Defendants’ underlying acts were not
 substantially justified.

 C. Reasonable Attorneys’ Fees

         Plaintiffs seek $144,876.04 in attorneys’ fees and costs.3 (Reply at 12.) Federal
 Defendants argue that these numbers should be reduced (1) to reflect Plaintiffs’ partial success,
 (2) to eliminate redundancies, and (3) to match the statutory rate rather than the enhanced rate
 Plaintiffs seek. (Opposition at 7–12.) None of these arguments warrant a reduction in attorneys’
 fees and costs.

         First, Plaintiffs’ counsel obtained a successful result for both represented and non-
 represented detainees. While the Court only enjoined the transfer of the represented detainees,
 Plaintiffs’ counsel negotiated with Defendants to reach an agreement that Defendants would not
 transfer any immigrant detainees outside of the AOR. (Motion at 4.) Had Defendants declined
 this agreement, Plaintiffs’ counsel was prepared to amend their complaint and file a discovery
 motion. (Reply at 8.) Federal Defendants assert that they were not planning to transfer any
 detainees out of the AOR, so Plaintiffs’ counsel’s negotiations did nothing to change the status
 quo. (Opposition at 2–3.) Plaintiffs however, have submitted evidence showing that Defense
 counsel urged Plaintiffs’ counsel to delay filing the discovery motion to give Defense counsel
 time to obtain approval from the “East Coast” for the proposed agreement. (Reply at 9;
 Arulanantham Supplemental Declaration ¶ 5, Exhibit A.) This email demonstrates that it was
 the negotiations with Plaintiffs’ counsel and the threat of continued litigation that prompted the
 agreement—not Defendants’ alleged previous intent.

         Second, Plaintiffs’ hours calculation does not include any redundancies. Defendants
 point to one hearing and five calls where two attorneys were present and argue that “these
 redundant hours should be deducted.” (Opposition at 9–10.) This argument is frivolous,
 insincere, and a waste of the Court’s time. Per Ninth Circuit precedent that Federal Defendants

         3
          The Motion requests $137,031.87. (Motion at 16.) In response to Federal Defendants’
 argument that the fees calculation includes less than four hours of clerical work billed by a
 paralegal, Plaintiffs removed those hours and reduced the remainder of that paralegal’s hours by
 10%. (Reply at 10.) Plaintiffs also added the time spent drafting the Reply. (Id. at 12.)
 (continued . . . )
  Page 6 of 7                      CIVIL MINUTES—GENERAL                    Initials of Deputy Clerk iv
Case 8:19-cv-00815-JGB-SHK Document 53 Filed 01/02/20 Page 7 of 7 Page ID #:872




 themselves cite, two attorneys present for an important call or hearing is not redundant. Probe v.
 State Teachers’ Ret. Sys., 780 F.2d 776, 785 (9th Cir. 1986) (“In an important class action
 litigation [], the participation of more than one attorney does not constitute an unnecessary
 duplication of effort.”).4 Moreover, Defendants had three attorneys present at the hearing and
 on almost every call. (Supplemental Arulanantham Decl. ¶ 7.) Unless Defense counsel agrees it
 wasted taxpayer resources at the hearings and on the calls, it should not level accusations of
 redundancies at Plaintiffs’ counsel.

          Third, Plaintiffs’ counsel’s competent representation warrants the enhanced rate they
 seek. Plaintiffs have submitted the declarations of two non-parties, Professor Jayashri Srikantiah
 and Attorney Carol Sobel, which state that the rates Plaintiffs seek are reasonable for the work
 that was done no attorney would be available to do the work at the EAJA statutory rate. (See
 Srikantiah Declaration; Sobel Declaration.) Plaintiffs’ counsel each have experience litigating
 complex cases involving the constitutional rights of immigrant detainees. (Arulanantham
 Declaration ¶¶ 7–27.) All three, therefore, have distinctive knowledge and specialized skill in
 this complex area of the law. The Ninth Circuit has specifically recognized that Mr.
 Arulanantham’s knowledge and skill warrant enhanced rates under the EAJA for his work
 litigating the constitutional rights of detained immigrants. See e.g., Nadarajah v. Holder, 569
 F.3d 906, 914 (9th Cir. 2009).

        This case required Plaintiff’s counsel’s specialized knowledge and expertise. It involved
 unique issues of statutory jurisdiction. When Plaintiffs’ counsel received notification about the
 pending transfers, they immediately identified the threat to their clients’ constitutional rights and
 quickly moved to obtain emergency relief. (Motion at 2–3.) It is not likely that lawyers without
 Plaintiffs’ counsel’s specialized knowledge would have been able to obtain similar results. (See
 also Srikantiah Declaration ¶¶ 10–12.) Accordingly, the Court finds the number of hours worked
 on this case by Plaintiff’s counsel was reasonable and the rates Plaintiffs seek are warranted.

                                       IV.   CONCLUSION

      For the reasons above, the Court GRANTS Plaintiffs’ Motion. Plaintiffs’ counsel are
 awarded $144,876.04 in attorneys’ fees and costs. The January 6, 2019 hearing is VACATED.



 IT IS SO ORDERED.




         4
           Defense counsel cites Probe to support their argument that the Court should reduce
 Plaintiffs’ fee award because two attorneys attended a hearing and five calls. Probe holds the
 opposite—that multiple attorneys are not redundant in important cases. See Probe, 780 F.2d
 776, 785 (9th Cir. 1986).

  Page 7 of 7                       CIVIL MINUTES—GENERAL                     Initials of Deputy Clerk iv
